            Case 1:18-cr-10364-DPW Document 1 Filed 10/04/18 Page 1 of 20




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS
                                                                                        SEALED
UNITED STATES OF AMERICA

                V.
                                              )
                                              )
                                              )
                                                    CriminalNo. \6cv (03.U^
                                              )     Violations:
JASIEL F. CORREIA, II,                        )
                                              )     Counts One - Nine: Wire Fraud
                                              )     (18U.S.C. § 1343)
                Defendant                     )
                                              )     Counts Ten - Thirteen: False Tax Returns
                                              )     (26 U.S.C. § 7206(1))
                                              )
                                              )     Forfeiture Allegation:
                                              )     18 U.S.C. § 981(a)(1)(C);
                                              )     28 U.S.C. § 2461(c)

                                          INDICTMENT


                                       General Allegations


       At all times relevant to this Indictment:


       1.       SnoOwI was a company conceived and founded by JASIEL F. CORREIA, II

("CORREIA") in late 2012 to develop an "app" designed to connect local businesses with their

target consumer market. SnoOwl was incorporated in Delaware in December 2014.

       2.       CORREIA, 26, is the mayor of Fall River, Massachusetts. CORREIA was first

elected in November 2015, and was re-elected by a wide margin to a second two-year term in

November 2017. Prior to his election as mayor, CORREIA was a one-term Fall River City

Councilor between 2014 and 2016.


       3.       In or about January 2013, CORREIA began seeking investors who were willing to

provide investment money for SnoOwl in return for equity in the company. To induce their

investments, CORREIA represented to the SnoOwl investors that: (i) he was a successful tech

entrepreneur who previously sold another app, Findit Networks, for a large profit; (ii) their
Case 1:18-cr-10364-DPW Document 1 Filed 10/04/18 Page 2 of 20
Case 1:18-cr-10364-DPW Document 1 Filed 10/04/18 Page 3 of 20
Case 1:18-cr-10364-DPW Document 1 Filed 10/04/18 Page 4 of 20
Case 1:18-cr-10364-DPW Document 1 Filed 10/04/18 Page 5 of 20
Case 1:18-cr-10364-DPW Document 1 Filed 10/04/18 Page 6 of 20
Case 1:18-cr-10364-DPW Document 1 Filed 10/04/18 Page 7 of 20
Case 1:18-cr-10364-DPW Document 1 Filed 10/04/18 Page 8 of 20
Case 1:18-cr-10364-DPW Document 1 Filed 10/04/18 Page 9 of 20
Case 1:18-cr-10364-DPW Document 1 Filed 10/04/18 Page 10 of 20
Case 1:18-cr-10364-DPW Document 1 Filed 10/04/18 Page 11 of 20
Case 1:18-cr-10364-DPW Document 1 Filed 10/04/18 Page 12 of 20
Case 1:18-cr-10364-DPW Document 1 Filed 10/04/18 Page 13 of 20
Case 1:18-cr-10364-DPW Document 1 Filed 10/04/18 Page 14 of 20
Case 1:18-cr-10364-DPW Document 1 Filed 10/04/18 Page 15 of 20
Case 1:18-cr-10364-DPW Document 1 Filed 10/04/18 Page 16 of 20
Case 1:18-cr-10364-DPW Document 1 Filed 10/04/18 Page 17 of 20
Case 1:18-cr-10364-DPW Document 1 Filed 10/04/18 Page 18 of 20
Case 1:18-cr-10364-DPW Document 1 Filed 10/04/18 Page 19 of 20
Case 1:18-cr-10364-DPW Document 1 Filed 10/04/18 Page 20 of 20
